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                EXHIBIT 2
       Declaration of Nicholas A. Klinefeldt in
Support of Resistance to Plaintiff’s Motion for Remand
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From:            Klinefeldt, Nicholas A.
To:              Daniel Suhr; bobandersoniowan@gmail.com
Cc:              Yoshimura, David; grygielm@gtlaw.com; mcnameek@gtlaw.com; kleinsasserz@gtlaw.com; Bob Corn-Revere;
                 conor.fitzpatrick@thefire.org; adam@thefire.org; greg.greubel@thefire.org
Subject:         RE: Donnelly v Register
Date:            Wednesday, January 22, 2025 3:18:53 PM


I will send an invite now for Monday at 1:00PM CT.

Nick


From: Daniel Suhr <dsuhr@americanrights.org>
Sent: Tuesday, January 21, 2025 11:19 AM
To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>; bobandersoniowan@gmail.com
Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com;
mcnameek@gtlaw.com; kleinsasserz@gtlaw.com; Bob Corn-Revere <bob.corn-revere@thefire.org>;
conor.fitzpatrick@thefire.org; adam@thefire.org; greg.greubel@thefire.org
Subject: Re: Donnelly v Register


This Message originated outside your organization.




That makes sense to me. Given that you all have agreed to accept service on behalf of
your clients, I am content to leave the particulars of scheduling responses to our call.
Please let me know if anything pops in the interim; otherwise, my calendar for Monday
the 27th is wide open. Thanks - DANIEL

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Tuesday, January 21, 2025 11:09 AM
To: Daniel Suhr <dsuhr@americanrights.org>; bobandersoniowan@gmail.com
<bobandersoniowan@gmail.com>
Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com
<grygielm@gtlaw.com>; mcnameek@gtlaw.com <mcnameek@gtlaw.com>; kleinsasserz@gtlaw.com
<kleinsasserz@gtlaw.com>; Bob Corn-Revere <bob.corn-revere@thefire.org>;
conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>; adam@thefire.org
<adam@thefire.org>; greg.greubel@thefire.org <greg.greubel@thefire.org>
Subject: RE: Donnelly v Register

Daniel,

It is our understanding President Trump will likely be filing an Amended Complaint in his case by
Friday. Given that, what about scheduling a call for Monday afternoon?

Nick
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From: Daniel Suhr <dsuhr@americanrights.org>
Sent: Friday, January 17, 2025 10:35 AM
To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>; bobandersoniowan@gmail.com
Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com;
mcnameek@gtlaw.com; kleinsasserz@gtlaw.com; Bob Corn-Revere <bob.corn-revere@thefire.org>;
conor.fitzpatrick@thefire.org; adam@thefire.org; greg.greubel@thefire.org
Subject: Re: Donnelly v Register


This Message originated outside your organization.




Of course, Nick, we are happy to get on the phone at any time to discuss the case. I
know next Monday is a federal holiday, so I want to respect that some folks may take
that day off. I'm generally free Tuesday, Wednesday (before 3pm CT), Thursday, or
Friday.

I see several new additions to our email list of counsel from Greenberg Traurig -
welcome. Could you please clarify which parties they represent?

Thanks
DANIEL

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Friday, January 17, 2025 10:19 AM
To: Daniel Suhr <dsuhr@americanrights.org>; bobandersoniowan@gmail.com
<bobandersoniowan@gmail.com>
Cc: Yoshimura, David <david.yoshimura@faegredrinker.com>; grygielm@gtlaw.com
<grygielm@gtlaw.com>; mcnameek@gtlaw.com <mcnameek@gtlaw.com>; kleinsasserz@gtlaw.com
<kleinsasserz@gtlaw.com>; Bob Corn-Revere <bob.corn-revere@thefire.org>;
conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>; adam@thefire.org
<adam@thefire.org>; greg.greubel@thefire.org <greg.greubel@thefire.org>
Subject: Donnelly v Register

Daniel/Bob,

We wanted to reach out and see if we can set up a call to discuss next steps. Please let us know.

Thanks.

Nick

Nicholas A. Klinefeldt
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Partner
nick.klinefeldt@faegredrinker.com
Connect: vCard

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